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UNITED STATES DISTRICT COURT
DISTRICT OF PUERTO RICO

 

AGvIQ, LLc,
Plaintiff,

CIVIL ACTION
NO. 3:17-02034-WGY

V.

RIGHT WAY ENVIRONMENTAL
CONTRACTORS,

Defendant.

 

YOUNG, D.J.1 March l, 2018

MEMDRANDUM AND ORDER

I. INTRODUCTION

After the defendant Right Way Environmental Contractors
(“Right Way”) initiated arbitration proceedings against the
plaintiff Agviq, LLC (“Agviq”), Agviq filed this action against
Right Way seeking the Court’s declaration that the dispute is
not arbitrable and requesting that the Court enjoin the ongoing
arbitration proceedings; Right Way moved to dismiss Agviq’s
complaint for failure to state a claim, and the Court determined
that the motion ought be treated as one for summary judgment.

Agviq now moves for leave to file an amended complaint.

 

1 Of the District of Massachusetts, sitting by designation.

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A. Procedural History

On October 19, 2016, Right Way filed a Demand for
Arbitration against Agviq before the American Arbitration
Association (“AAA”).2 Compl. Ex. 6. Several months later, on
August 2, 2017, Agviq filed a complaint in federal court against
Right Way, seeking declaratory relief and a stay of arbitration
proceedings. Compl., ECF No. l. After Chief Judge Delgado-
Colon of the District of Puerto Rico3 denied Agviq’s request for
a stay on the grounds that Agviq had not formally moved for an
injunction or restraining order, Agviq moved for a preliminary
injunction. Mem. & Op., ECF No. lO; Mot. Prelim. Inj., ECF No.
ll. Right Way moved to dismiss Agviq's complaint for failure to
state a claim and opposed the motion for a preliminary
injunction. Mot. Dismiss Compl. (“Mot. Dismiss”), ECF No. 16;
Mot. Dismiss Req. Prelim. Inj., ECF No. 19. Agviq opposed the
motion to dismiss and filed an “[u]rgent informative motion”

notifying the Court that the AAA arbitrator (the “Arbitrator”)

 

2 The parties appear to disagree over the date on which the
Demand for Arbitration was filed. Whereas Agviq alleges that it
was filed on November 10, 2016, Compl. L 18, Right Way maintains
that it was filed on October 19, 2016, Mot. Dismiss at 7. It
appears that Agviq is mistaken, since the copy of the Demand for
Arbitration that Agviq submitted as an exhibit indicates that it
was sent on October 19, 2016, Compl. Ex. 6. In any event, the
date on which the Demand for Arbitration was filed is not
material in this case.

3 At the time, this matter had been temporarily referred to
Chief Judge Delgado-Colén. §ee Mem. Op. 2 n.l, ECF No. 10.

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had also denied its request for a stay of arbitration
proceedings. Opp’n Mot. Dismiss Compl. (“Opp'n Mot. Dismiss”),
ECF No. 27; Urgent Informative Mot., ECF No. 21. Right Way
moved to strike the “urgent informative motion” on the ground
that it was an unauthorized reply to Agviq’s request for a
preliminary injunction. Mot. Strike, ECF No. 26.

On November 14, 2017, this Court heard oral argument on
these motions and denied Agviq’s motion for a preliminary
injunction. §§e Min. Entry, ECF No. 34. The Court ruled that
the question of arbitrability was for judicial determination and
explained to the parties that it would treat the motion to
dismiss as a motion for summary judgment. §§§ id; After
requesting further briefing, it took the remaining motions under
advisement. §§§ id; Agviq now moves for leave to file an
amended complaint, Mot. Leave File Am. Compl. (“Mot. Leave
Am.”), ECF No. 31, and for reconsideration of both the Court's
denial of its request for a preliminary injunction and its
decision to rule on summary judgment, Mot. Recons., ECF No. 36.

B. Undisputed Facts

On October 15, 2014, Agviq and Right Way entered into a
contract obligating Right Way to provide subcontracting services
in connection with a construction project in Ceiba, Puerto Rico
(the “Subcontracting Agreement”). Compl. I 6. The

Subcontracting Agreement was drafted in light of and

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incorporates certain terms of a separate contract between Agviq,
as prime contractor, and the Naval Facilities Engineering
Command (the “Navy”), as the owner of the project (the “Prime
Contract”). l§; I 8.

1. Prime Contract

One of the clauses in the Prime Contract is the Federal
Acquisition Regulation Clause 52.233-1 (the “Disputes Clause”).
ld; I 12. The Disputes Clause provides that the Prime Contract
is subject to Title 41, Chapter 71 of the U.S. Code (the
“Contracts Disputes Act”), and it states that except as provided
in the Contract Disputes Act, all disputes arising under the
Prime Contract are to be resolved under the Disputes Clause.
Compl. Ex. 2 (“Subcontracting Agreement”) Ex. F, ECF No. l-2;
Compl. Ex. 4 (“Prime Contract”) 85, ECF No. 1-4.

The Disputes Clause defines “claim” as a “written demand or
written assertion by one of the contracting parties seeking, as
a matter of right, the payment of money in a sum certain, the
adjustment or interpretation of contract terms, or other relief
arising under or relating to this contract.” Subcontracting
Agreement Ex. F, 52.233-l(c). When submitting any claim over
$lO0,000, a contractor must certify the claim, ld; 52.233-
l(d)(2)(i). The certification must state that the claim is made
in good faith, that the supporting data are accurate and

complete, that the amount requested accurately reflects the

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contract adjustment for which the contractor believes the
government is liable, and that the contractor is authorized to
certify the claim.4 ld; 52.233-1(d)(2)(iii).
2. Subcontracting Agreement

The Subcontracting Agreement fully incorporates the
Disputes Clause and incorporates many other Prime Contract
provisions by reference. In reference to these incorporated
provisions, Exhibit F of the Subcontracting Agreement states:

By the terms of this Agreement, these
clauses have application to Subcontractors
and their subcontractors as well. The
clauses have been duplicated here directly
from the prime contract . . . . The clauses
. are incorporated herein and made a
part of this agreement. In all such clauses,
for the purposes of this agreement . . . the
term Contractor shall mean Seller or
Subcontractor and the term Contract shall
mean this Subcontract Agreement. . . . It is
intended that the clauses apply to
Seller/Subcontractor necessary to reflect
the position of Seller as a Subcontractor to
AGVIQ, LLC and to secure Seller’s
obligations to AGVIQ, LLC and to the United
States Government, enabling AGVIQ, LLC to
meet its obligations under its Prime
Contract with its Client.

The Subcontracting Agreement also includes an arbitration
clause, through which the parties agree to arbitrate “[a]ll
claims, disputes and matters in question arising out of, or

relating to, this Agreement or the breach thereof.”

 

4 These requirements parrot those in the Contract Disputes
Act itself. See 41 U.S.C. § 7103.

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Subcontracting Agreement, Art. 24.1. The arbitration clause
provides that any arbitration will be “in accordance with the
Construction Industry Arbitration Rules of the American
Arbitration Association” and that the agreement to arbitrate
shall be governed by the Federal Arbitration Act. ld;

The arbitration clause proceeds to delineate certain
exceptions to arbitration. Article 24.2 of the Subcontracting
Agreement states that the agreement to arbitrate shall not apply
to any claim:

24.2.1 of contribution or indemnity
asserted by one party to this Agreement
against the other party and arriving out of
an action brought in a state or federal
court or in arbitration by a person who is
under no obligation to arbitrate the subject
matter of such action with either of the
parties hereto or does not consent to such
arbitration; or

24.2.2 asserted by the Subcontractor
against the Contractor, if the Contractor
asserts said claim, either in whole or part
against the Owner, or asserted by the Owner
against the Contractor,

24.2.3 when the contract between the
Contractor and Owner does not provide for
binding arbitration, or does so provide but
the two arbitration proceedings are not
consolidated, or the Contractor and Owner
have not subsequently agreed to arbitrate
said claim, in either case the parties
hereto shall notify each other either before
or after demand for arbitration is made.

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The arbitration clause further provides that the question
of arbitration “shall be decided by the appropriate court and
not by arbitration.” ld;, Art. 24.2.

3. Demand for Arbitration

On October 19, 2016, Right Way filed a Demand for
Arbitration against Agviq. Compl. Ex. 6. Right Way alleged
that the project’s construction “was affected by numerous
delays” attributable to Agviq and that it was forced to perform
additional work and incur additional costs as a result. lg;_ In
its demand, Right Way sought an additional $2,926,643.72 for
these resulting costs, as well as interest and legal fees. ;d;

The parties exchanged correspondence about the demand
throughout December 2016 and January 2017. Compl. I 19, Exs. 5,
7-8. During this time, Right Way sent Agviq a letter describing
in detail the basis for its claim as well as itemizing the
various fees and costs it incurred. §§§ id; Ex. 5. Agviq’s
correspondence to Right Way explained that Right Way's claim,
“if properly supported and certified, would be passed through to
the United States by Agviq.” ld; Ex. 8. Agviq explained,
however, that it “has not passed Right Way's claim through to
the government because Right Way's correspondence to Agviq does
not meet the requirements for a claim in accordance with Right

Way's subcontract.” Id. Ex. 7.

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On August 2, 2017, Agviq sent a letter to the Navy that
purported to “submit[] the most current Right Way request for
additional compensation” but did not include any statement of
certification. ld; I 23, Ex. 16. Subsequently, on November 30,
2017, the same day that it moved for leave to amend its
complaint, Agviq sent another letter to the Navy. Mot. Leave
Am., Ex. 2. In this letter, Agviq declared that it was “hereby
formally submit[ting] this claim on behalf of [Right Way]” and
included a statement of certification at the bottom of the
letter. ld;

II. ANALYSIS

A district court may, after giving the parties reasonable
notice and opportunity to present relevant materials, treat a
motion to dismiss as a motion for summary judgment. §§§ Fed. R.
Civ. P. 12(d); §§ley v. Wells Fargo Bank, N.A., 772 F.3d 63, 73
(1st Cir. 2014) (“[T]he district court [is] permitted to make
this conversion if it [gives] the parties a reasonable
opportunity to present materials pertinent to the motion.”). At
the hearing on November 14, 2017, this Court notified the
parties that it intended to treat Right Way's motion to dismiss
as a motion for summary judgment, and it offered the parties two
weeks to file further briefing. §e§ Min. Entry.

Neither party took advantage of this opportunity. Instead,

Agviq moved for leave to file an amended complaint and for

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reconsideration of the Court's decision to address the dispute
on its merits. §§e Mot. Leave Am. Agviq asserts that its
proposed amended complaint would compel an entry of summary
judgment in its favor, rendering moot Right Way's motion to
dismiss. Inform. Mot. Proc. Status 3, ECF No. 32; Mot. Recons.
4. Because Agviq’s proposed amended complaint is futile, and
Right Way is entitled to summary judgment, the Court DENIES
Agviq’s motion for leave to amend and its motion for
reconsideration, and it GRANTS summary judgment in favor of
Right Way.

The Court first addresses its ruling on summary judgment,
which provides necessary context for its subsequent discussion
of the futility of Agviq’s proposed amendment.

A. Summary Judgment

Entry of summary judgment is appropriate where “there is no
genuine dispute as to any material fact and the movant is
entitled to judgment as a matter of law.” Fed. R. Civ. P.
56(a). “[I]f the evidence is such that a reasonable jury could
return a verdict for the nonmoving party,” however, then summary
judgment will not be granted. Anderson v. Liberty Lobby, 477
U.S. 242, 248 (1986). In resolving a motion for summary
judgment, the Court is not to weigh the evidence, but “must draw
all reasonable inferences in favor of the nonmoving party.”

Reeves v. Sanderson Plumbing Prods., lnc., 530 U.S. 133, 150

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(2000). For the movant to prevail, it must demonstrate that
“the nonmoving party has failed to make a sufficient showing on
an essential element of her case with respect to which she has
the burden of proof.” Celotex Corp. v. Catrett, 477 U.S. 317,
323 (1986). The nonmovant then must identify “particular parts
of materials in the record” to establish the presence of a
genuine dispute for trial. Fed. R. Civ. P. 56(c).

All three of Agviq’s causes of action hinge on whether
Right Way's claim fits within one of the arbitration exceptions
to the Subcontracting Agreement. §§§ Compl. II 33-56. The
arbitrability of a claim “depends on contract interpretation,
which is a question of law” for the court's determination.

Combined Energies v. CCI, Inc., 514 F.3d 168, 171 (lst Cir.

 

2008) (quoting Keystone Shipping Co. v. New England Power Co.,
109 F.3d 46, 50 (lst Cir. 1997)). Because there is no genuine
issue of material fact and neither of the arbitration exceptions
applies to Right Way's claim as matter of law, Right Way is

entitled to summary judgment on all counts.

1. Propriety of Court's Determination of
Arbitrability

As an initial matter, the question of arbitrability,
including both whether there is a contractual duty to arbitrate
and whether or not that duty to arbitrate applies to this claim,

is one for judicial determination.

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Under the Subcontracting Agreement, the parties stipulated
that any question as to arbitrability would be decided by a
Courtr as OPPOSed to an arbitrator. The arbitration clause in
the Subcontracting Agreement clearly states that “[i]n any
dispute arising over the application of this Paragraph 24.2, the
question of arbitration shall be decided by the appropriate
court and not by arbitration.” Subcontracting Agreement, Art.
24.2, This provision is fairly unambiguous, and neither party
contests its plain meaning. Mot. Dismiss 6.

The Arbitrator nevertheless determined that the question
whether one of the exceptions to the arbitration clause applies,
as opposed to the question of whether there exists a contractual
duty to arbitrate the claim, is a “procedural” question properly
resolved by an arbitrator. §§e Resolution & Order 4-6, ECF No.
21-2. The Arbitrator points to Howsam v. Dean Witter Reynolds,
lng;, 537 U.S. 79 (2002), in which the Supreme Court noted that
while “a disagreement about whether an arbitration clause in a
concededly binding contract applies to a particular type of
controversy is for the court,” procedural questions that
consider whether any “conditions precedent to an obligation to
arbitrate have been met” are presumptively for the arbitrator.

Id. at 84-85.

As the First Circuit explained in Marie v. Allied Home

Mortg. Corp., 402 F.3d 1 (lst Cir. 2005), however, the Supreme

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Court has held an issue to be procedural where it concerned
“‘what kind of arbitration proceeding the parties agreed to’
rather than ‘whether they agreed to arbitrate a matter.'” ld;
at 10 (quoting Green Tree Fin. Corp. v. Bazzle, 539 U.S. 444,
452 (2003)). The latter, which addresses “the kind of disputes
intended for arbitration,” is a substantive question for the
court. §d; Further, the First Circuit distinguished between
questions whose resolution could cause a case to “bounce[] back
and forth between tribunals without making any progress,” on the
one hand, and procedural “gateway" issues that ask whether the
claim may proceed in any forum, on the other hand. §§e id; at
14 (“[The issue of waiver] is different in kind from the
arbitrator’s normal resolution of a gateway issue: normally, the
resolution of such an issue would bar not only arbitration but
any sort of litigation on the issues by either side.”).

Here, the Arbitrator incorrectly characterized the question
of arbitration as procedural in his order denying Agviq’s
request to stay the arbitration proceedings. §§e Resolution &
Order 4-6. The question whether Right Way's claim fits within
one of the exceptions to the arbitration clause is one that
addresses “the kind of disputes intended for arbitration.”
Ha£ie, 402 F.3d at 10. Further, this question is not one that

could bar “any sort of litigation on the issues by either side.”

Id. at 14. If one of the exceptions applies, nothing in the

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Subcontracting Agreement appears to bar Right Way from
litigating its claim in another forum -- indeed, Agviq does not
contend that the claims are barred but merely contends that they
should be resolved according to the dispute resolution procedure
set out in the Disputes Clause and the Contract Disputes Act.
Thus, if the Arbitrator were to find that one of the exceptions
in fact applies, the case “would inevitably end up back before
the district court,” causing the very inefficiency about which
the First Circuit expressed concern. l§; at 13.

Because the language in the Subcontracting Agreement is
clear and because relevant precedent dictates that this type of
issue ought be determined judicially, the Court concludes that
it is proper for the Court, and not the Arbitrator, to resolve
the question of whether Right Way's claim is arbitrable under
the Subcontracting Agreement.

2. Arbitrability of Right Way's Claims

The parties agree that at least one of the arbitration
exceptions must apply for the arbitration to be precluded under
the Subcontracting Agreement. See, e.g., Mot. Prelim. Inj. 5-6;
Mot. Dismiss 5. If none of the arbitration exceptions apply to
Right Way's claim, the claim is arbitrable and Right Way may
thus compel Agviq to submit to arbitration.

The exception articulated in subsection 24.2.1 (“Exception

24.2.1”), which pertains to claims “of contribution or

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indemnity'” does not apply to Right Way’S claim, and Agviq does
not argue to the Contrary- Rather, Agviq asserts that the claim
fits within both of the exceptions under subsections 24.2.2
(“Exception 24.2.2”) and 24.2.3 (“Exception 24.2.3”). Opp'n
Mot. Dismiss 7. Though Agviq asserts that these are separate
and independent exceptions, it argues that the claim satisfies
both exceptions and thus arbitration is precluded even if the
two are read together. §§§ Mot. Prelim. Inj. 6 n.1 & 7. Right
Way argues that Exception 24.2.2 does not apply, and because
Exception 24.2.3 is only an additional condition to Exception
24.2.2, neither applies to bar the arbitration. §ee Mot.
Dismiss 6, 16-17. The Court agrees with Right Way's position.
a. Exception 24.2.2

Exception 24.2.2 of the Subcontracting Agreement provides
that the “agreement to arbitrate shall not apply to any claim .

asserted by the Subcontractor against the Contractor, if the
Contractor asserts said claim, either in whole or part against
the Owner, or asserted by the Owner against the Contractor.”
Subcontracting Agreement, Art. 24.2.2. Thus, if Agviq properly
asserts Right Way's claim against the “owner” of the project
(here, the Navy), the exception applies, The parties agree that
in order for Agviq to assert Right Way's claim against the Navy,
it must do so pursuant to the Disputes Clause in the Prime

Contract, which provides that any such claim would be governed

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by the Contract Disputes Act and (in this instance) must be
certified. ld; Ex. F, 52.233-1. Agviq argues that by refusing
to style its claim as one under the Contract Disputes Act and
certify it, Right Way is not only wrongfully circumventing this
exception but also preventing Agviq from meeting its obligations
under the Prime Contract, in contravention of Exhibit F of the
Subcontracting Agreement. Compl. II 27-32.

Courts have long held that the Contract Disputes Act does
not cover government contractors’ disputes with their

subcontractors. See, e.g;, NavCom Def. Elecs., Inc. v. Ball

 

§§£p;, 92 F.3d 877, 879 (9th Cir. 1996) (per curiam) (“Under the
[Contract Disputes Act], contracting officers have jurisdiction
only over claims by contractors against the government, not over
claims brought directly by subcontractors.”); United States W.
Commc’ns Servs., Inc. v. United States, 940 F.2d 622, 627 (Fed.
Cir. 1991) (“A government contractor's dispute with its
subcontractor was by definition specifically excluded from CDA
coverage.”). Subcontractors thus may only assert claims against
the government “by having the prime contractor ‘sponsor’ and
certify the subcontractor's claim.” NavCom, 92 F.3d at 880; see
also Arnold M. Diamond, Inc. v. Dalton, 25 F.3d 1006, 1009 (Fed.
Cir. 1994). Such a proceeding cannot resolve disputes between
the subcontractor and prime contractor as to the “amount due the

subcontractor,” but rather addresses “claim[s] for additional

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compensation to the prime contractor itself.” United States v.
Zurich Am. Ins. Co., 99 F. Supp. 3d 543, 547 (E.D. Pa. 2015).

In Agviq’s view, Right Way's claim is properly considered a
claim under the Contract Disputes Act because the delay that
constitutes the basis for Right Way's claim against Agviq is
actually attributable to Navy conduct and thus amounts to a
challenge to the conduct of the Navy. Opp'n Mot. Dismiss Req.
Prelim. Inj. 9-10, ECF No. 23. Right Way argues that its claim
cannot be classified as a claim under the Contract Disputes Act
because the Contract Disputes Act governs only claims against
the government, and its claim is expressly against Agviq. Mot.
Dismiss Req. Prelim. Inj. 10-11. Therefore, it contends, Agviq
may not “pass through” the claim to the Navy and Right Way is
under no obligation to help it do so. Right Way is correct.

Prime contractors may not simply sponsor and certify any
subcontractor claim. Though “it remains an open question to
what extent the basis for a claim must be attributable to the
government before a contracting officer can assert
jurisdiction,” Performance Contracting, Inc. v. Seaboard Sur.
§9;, 163 F.3d 366, 371 (6th Cir. 1998), the Ninth Circuit has
held that where a subcontractor's claims did not “challenge
[government] conduct or suggest the [government] was responsible
for increased costs,” the contracting officer did not have

jurisdiction to resolve the dispute under the Contract Disputes

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Act, see NavCom, 92 F.3d at 880. In NavCom, the prime
contractor submitted a claim to the contracting officer pursuant
to the Contract Disputes Act despite the fact that the
subcontractor “consistently alleged that [the prime contractor],
and not [the government], was responsible for the increased
costs.” ld; After the subcontractor demanded arbitration and
the prime contractor filed suit to enjoin arbitration, the Ninth
Circuit disagreed with the prime contractor's argument that “if
it can transform [the subcontractor’s] claims into a claim
against the government, no matter how distorted or unrelated to
[the subcontractor’s] original claims, review by the contracting
Officer is [the subcontractor’s] sole avenue for relief and [the
subcontractor] is precluded from asserting its claims in any
other forum.” 1§;

The court further rejected the prime contractor's argument
that the subcontractor was barred from arbitrating its claims
because the subcontract attempted to bind the subcontractor to
any related decision of the contracting officer under the prime
contract. ;d; In concluding that the subcontractor's claims
were arbitrable, the Ninth Circuit explained that “[t]he parties
cannot by contract expand the contracting officer's jurisdiction
beyond that granted by the CDA.” ;d; at 881.

Though this Court is not bound by the Ninth Circuit's

holding, it is persuaded by the Ninth Circuit's reasoning,

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especially given the similarity of the present circumstances.
Right Way's claim neither challenges government conduct nor
suggests that the government is responsible for its increased
costs. Compl. Ex. 5. It requests relief from Agviq, which does

not “directly affect the government.” S&M Constructors, Inc. v.

 

Foley Co., No. 92-0142-CV-W-6, 1992 WL 37515, at *1 (W.D. Mo.
Feb. 21, 1992). Though Agviq claims that the government is
ultimately responsible for the delay causing the increased
costs, Opp'n Mot. Dismiss Prelim. Inj. 9-10, this contention
does not transform Right Way's claim into one against the
government. §§e NavCom, 92 F.3d at 880 (rejecting prime
contractor's argument that subcontractor's claims were claims
against the government because “ultimate financial
responsibility will rest with that entity”); S&M Constructors,
1992 WL 37515 at *1 (concluding that arbitration clause of
similar subcontract was properly invoked where “the present
arbitration does not, as described, directly affect the
Government”). Right Way's claim is thus not one that can be
properly asserted under the Contract Disputes Act.

Agviq argues that “[w]hether the [Navy] is liable or not is
not relevant” because the Subcontracting Agreement provides an
exception to arbitration “when any claim presented by [Right
Way] to Agviq is asserted against the [Navy], regardless of

whether it is or not claimed that liability lies on the Navy.”

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Opp'n Mot. Dismiss 12. This argument is unpersuasive because,
as explained in NavCom, the Subcontracting Agreement may not
expand the jurisdiction of the Contract Disputes Act; a claim
that is not against the Navy may not be asserted against the

Navy. See NavCom, 92 F.3d at 881; see also Performance

 

Contracting, 163 F.3d at 371 (observing without holding that no
jurisdiction exists where the “claims, on their face, are not

against the government, and the trial court made no finding

 

whatsoever that these claims were somehow attributable to the

[government]”); Riley Elec. Co. v. American Dist. Tel. Co., 715

 

 

F. Supp. 813, 819 (W.D. Ky. 1989) (concluding that the Contract
Disputes Act was inapplicable to claim despite clause in
contract requiring that all disputes be resolved in accordance
with the Contract Disputes Act). Agviq’s argument that Right
Way must submit its claim under the Contract Disputes Act
because Exhibit F of the Subcontracting Agreement requires Right
Way to do so fails for the same reason: even if Right Way were
under such an obligation by contract, it cannot submit a claim
that falls beyond the jurisdiction of the Contract Disputes Act.
The conclusion that Right Way's claim cannot be sponsored
and submitted under the Contract Disputes Act also accords with
commonsense principles of contractual interpretation, Right Way
correctly points out that if Agviq could submit to the

government any of Right Way's claims it so chooses, the

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arbitration clause would have no binding effect because Agviq
could avoid arbitration whenever it pleased. Mot. Dismiss 16.
This outcome would fly in the face of the clear intent of the
arbitration provision to require the parties to arbitrate at
least some claims. As a result, this Court determines that
Agviq cannot assert Right Way's claim against the Navy in
accordance with the Contract Disputes Act, and consequently
Exception 24.2.2 does not apply to bar the arbitration.

b. Exception 24.2.3

Agviq alternatively asserts that Right Way's claim falls
into Exception 24.2.3, which supposedly excludes any claim from
arbitration “when the contract between the Contractor and Owner
does not provide for binding arbitration.” Agviq argues that
this exception is distinct from Exception 24.2.2. Opp'n Mot.
Dismiss 7. It appears clear from the Disputes Clause that the
Prime Contract in fact does not provide for binding arbitration,
so if Exception 24.2.3 is read to constitute a separate
exception, then Right Way's claim ought not be arbitrated under
the Subcontracting Agreement.

Right Way argues that Exception 24.2.3 is in fact not a
separate exception, but part of Exception 24.2.2. This would
mean that there are two, not three, exceptions to arbitration in
the Subcontracting Agreement: “(i) when the claim is for

contribution or indemnity in relation to an action by a third

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party who is not subject to an arbitration agreement [24.2.1];
and (ii) when the claim asserted by [Right Way] against Agviq is
passed through to the owner, that ism [sic] the Navy, ana the
contract between Agviq and the Navy does not provide for binding
arbitration [24.2.2 and 24.2.3].” Mot. Dismiss 6 (emphasis
added).

This Court is persuaded by Right Way's interpretation for
several reasons. First, the punctuation of these provisions
implies that the language in Exception 24.2.3 is a condition to
Exception 24.2.2. While Exceptions 24.2.1 and 24.2.2 are
separated by a semicolon and the conjunction “or,” Exceptions
24.2.2 and 24.2.3 are merely separated by a comma.
Subcontracting Agreement, Art. 24.2. Second, Exception 24.2.3
begins with the word “when,” indicating that it is a
continuation of Exception 24.2.2. £a; Third, it would make
little sense to exempt claims from arbitration whenever the
Prime Contract does not provide for binding arbitration. If the
Prime Contract indeed does not provide for binding arbitration,
the entire arbitration clause of the Subcontracting Agreement
would be rendered superfluous because all claims would fall into
that exception. Finally, though his decision is clearly not
binding on this Court, it should be noted that the Arbitrator
also read Exceptions 24.2.2 and 24.2.3 as two conditions to one

exception. See Resolution & Order 3-4.

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Reading Exception 24.2.3 as a further condition to
Exception 24.2.2 consequently ends the analysis. Because
Exception 24.2.2 is not met, it is irrelevant that the
conditions articulated in Exception 24.2.3 may be met, Thus,
Right Way's claim is arbitrable under the contract as matter of
law, and Right Way is entitled to summary judgment.

B. Motion for Leave to Amend

Leave to amend a complaint shall be freely given “when
justice so requires.” Fed. R. Civ. P. 15(a)(2). Futility of a
proposed amendment, however, “is fully sufficient to justify the
denial of a motion to amend.” nanan v. Department for Children,

Youth & Their Families, 274 F.3d 12, 19 (lst Cir. 2001) (citing

 

Correa-Martinez v. Arrillaga-Belendez, 903 F.2d 49, 59 (lst Cir.
1990)). If leave to amend is sought before either party has
moved for summary judgment, “the accuracy of the ‘futility’
label is gauged by reference to the liberal criteria of Federal
Rule of Civil Procedure 12(b)(6)”; if it is sought after a
motion for summary judgment has been made, the amendment “is
properly classified as futile unless the allegations of the
proposed amended complaint are supported by substantial
evidence.” nannn, 274 F.3d at 19.

Though Agviq maintains that its original complaint was

“meritorious,” it explains that it has since “analyzed its

possibilities and decided to conduct a very careful study of

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[Right Way's claim] in order to adhere [the] claim . . . to the
provisions of the Contract Disputes Act.” Mot. Leave Am. 3.
Agviq informed the Court that it accordingly “decided to
certify” Right Way's claim. lan The only discernible change in
the proposed amended complaint, which continues to allege that
it is Right Way's contractual obligation to certify its claim,
is that Agviq now alleges that it has certified the claim and
submitted it to the Navy in accordance with the requirements of
the Disputes Clause and Contract Disputes Act, thereby
fulfilling the requirements of Exception 24.2.2. Proposed Am.
Compl. L 18, ECF No. 31-1.

Agviq has not shown through substantial evidence that the
proposed amendment would entitle it to relief. Agviq fails to
recognize that proper certification of the claim is not the
reason that Exception 24.2.2 does not apply; rather, Agviq may
not assert the claim to the Navy under the Contract Disputes Act
at all because Right Way's claim is against Agviq, and a
government contracting officer “has no jurisdiction to resolve
disputes between a subcontractor and the prime contractor.”
NavCom, 92 F.3d at 880. If Right Way's claim na£a one against
the Navy, the question of whether the claim has been asserted
properly -- that is, with a certification pursuant to the
Dispute Clause and Contract Disputes Act -- comes into play.

Cf. United States v. Johnson Controls, Inc., 713 F.2d 1541, 1557

 

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(Fed. Cir. 1983) (“The certification issue would only present
itself if we concluded that [the subcontractor] was a
“contractor” under the CDA. . . . Since we hold that there was
no privity between [the subcontractor] and the government, we do
not reach the certification issue.”). Because the claim is not
one that Agviq may assert under the Contract Disputes Act,
however, whether or not the claim has been properly certified is
irrelevant, and Agviq’s proposed amendment is thus futile.

While futility may fully justify the denial of a motion for
leave to amend, Agviq’s delay in proposing this amendment
reinforces the conclusion that its motion ought be denied.
“[P]arties seeking the benefit of [Rule 15’s] liberality have an
obligation to exercise due diligence; unseemly delay, in
combination with other factors, may warrant denial of a
suggested amendment.” Quaker State Oil Ref. Corp. v. Garrity
Oil Co., 884 F.2d 1510, 1517 (lst Cir. 1989). Agviq gives no
satisfactory explanation as to why it is suddenly now able to
provide the certification that it previously maintained
precluded it from asserting the claim against the Navy in
accordance with the Contract Disputes Act. §aa Compl. L 32;
Mot. Leave Am. 2. lt merely states that it decided to certify
the claim after “analyz[ing] its possibilities and decid[ing] to
conduct a very careful study” of Right Way's claim. Mot. Leave

Am. 3. This assertion not only fails to explain why it once

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apparently was, but now no longer is, Right Way's obligation to
certify the claim, but it also invites one to wonder why Agviq
only decided to conduct such a thorough analysis nearly four
months into this litigation. The First Circuit has identified
“relevant indicators point[ing] uniformly toward disallowance”
of a motion to amend, such as where “[t]he facts upon which the
proposed [amendment] rested were known to [the moving party] all
along” and where the moving party “never proffered a

satisfactory explanation for its delay.” Quaker State Oil Ref.

 

§a£p;, 884 F.Zd at 1517-18, Here, too, these factors weigh
against granting leave to amend.
III. CONCLUSIONS

For the foregoing reasons, this Court (i) GRANTS summary
judgment on all counts to Right Way; (ii) DENIES Right Way's
motion to strike as moot; (iii) DENIES Agviq's motion for
reconsideration; and (iv) DENIES Agviq's motion for leave to
amend. Agviq has no right to relief and judgment will enter so
declaring.

SO ORDERED. ZZ//
WILLIAM G. Y UNG
DISTRICT JUDGE

   
     

